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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA oD: GLY
- ve > INFORMATION

SABIRHAN HASANOFF, S6 10 Cr. 162 (KMW)

a/k/a “Tareq,”

Defendant.

COUNT ONE

The United States Attorney charges:

1. From at least in or about November 2007 up to and
including in or about March 2010, in the Southern District of New
York and elsewhere, in an offense occurring in part in the United
States and an offense in and affecting interstate and foreign
commerce, SABIRHAN HASANOFF, a/k/a “Tareq,” the defendant, a
United States citizen, and others known and unknown, unlawfully,
willfully, and knowingly did provide and attempt to provide
“material support or resources,” as that term is defined in Title
18, United States Code, Section 2339A(b) (1), to include tangible
and intangible property, services, currency, monetary
instruments, expert advice and assistance in computer matters,
and personnel, among other things, to a foreign terrorist
organization, to wit, al Qaeda, which has been designated by the
United States Secretary of State as a foreign terrorist
organization on October 8, 1999; October 5, 2001; October 2,

2003; and April 28, 2006; and is currently designated as such, as
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of the date of filing of this Information, in that HASANOFF
provided financial support, equipment, and technical advice to al
Qaeda associates in Yemen and elsewhere, knowing that al Qaeda
was designated a terrorist organization (as defined in Title 18,
United States Code, Section 2339B(g) (6)), that al Qaeda had
engaged and was engaging in terrorist activity (as defined in
Section 212(a) (3) (B) of the Immigration and Nationality Act), and
that al Qaeda had engaged and was engaging in terrorism (as
defined in Section 140(d) (2) of the Foreign Relations
Authorization Act, Fiscal Years 1988 and 1989).

(Title 18, United States Code, Sections Section 2339B(a) (1),
(a) (1) (A), (a) (1) (D), (da) (1) (E), and 2.)

COUNT TWO

The United States Attorney further charges:

2. From at least in or about November 2007 up to and
including in or about March 2010, in the Southern District of New
York and elsewhere, in an offense occurring in part in the United
States and an offense in and affecting interstate and foreign
commerce, SABIRHAN HASANOFF, a/k/a “Tareq,” the defendant, a
United States citizen, and others known and unknown, unlawfully,
willfully, and knowingly did combine, conspire, confederate and
agree to provide “material support or resources,” as that term is
defined in Title 18, United States Code, Section 2339A(b), toa
foreign terrorist organization, to wit, al Qaeda, which has been

designated by the United States Secretary of State as a foreign

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terrorist organization on October 8, 1999; October 5, 2001;
October 2, 2003; and April 28, 2006; and is currently designated
as such, as of the date of filing of this Information.

3. It was a part and an object of the conspiracy that
SABIRHAN HASANOFF, a/k/a “Tareq,” the defendant, would and did
agree to provide al Qaeda with “material support or resources,”
as that term is defined in Title 18, United States Code, Section
2339A(b) (1), to include tangible and intangible property,
services, currency, monetary instruments, expert advice and
assistance in computer matters, and personnel, among other
things, knowing that al Qaeda had engaged and was engaging in
terrorist activity (as defined in section 212(a) (3) (B) of the
Immigration and Nationality Act), and that al Qaeda had engaged
and was engaging in terrorism (as defined in section 140(d) (2) of
the Foreign Relations Authorization Act, Fiscal Years 1988 and
1989), in violation of Title 18, United States Code, Section
2339B.

Overt Acts

4. In furtherance of the conspiracy and to effect the
illegal object thereof, the following overt act, among others,
was committed in the Southern District of New York and elsewhere:

a. On or about November 28, 2007, SABIRHAN

HASANOFF, a/k/a “Tareq,” the defendant, a United States citizen,
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received approximately $50,000 from a co-conspirator not named as
a defendant herein (“CC-1”).
(Title 18, United States Code, Section 371.)
FORFEITURE ALLEGATIONS

5 The allegations contained in Counts One and Two of
this Information are hereby realleged and incorporated by
reference for the purpose of alleging forfeitures pursuant to
Title 18, United States Code, Section 981(a) (1) (G), and Title 28,
United States Code, Section 2461(c).

6. The violation of Title 18, United States Code,
Sections 2339B and 371, alleged in Counts One and Two of this
Information, were Federal crimes of terrorism, as defined in
Title 18, United States Code, Section 2332b(g) (5), against the
United States, citizens and residents of the United States, and
their property.

7. SABIRHAN HASANOFF, a/k/a “Tareg,” the defendant,
was an individual engaged in planning and perpetrating a Federal
crime of terrorism, as defined in Title 18, United States Code,
Section 2332b(g) (5), against the United States, citizens and
residents of the United States, and their property.

8. Upon conviction of the offenses in violation of
Title 18, United States Code, Sections 2339B and 371, alleged in
Counts One and Two of this Information, SABIRHAN HASANOFF, a/k/a

“Tareq,” the defendant, shall forfeit to the United States,
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pursuant to Title 18, United States Code, Sections 981(a) (1) (G)
and 2332b(g) (5), and Title 28, United States Code, Section 2461:

a. all right, title, and interest in all assets,
foreign and domestic, affording a source of
influence over al Qaeda;

b. all right, title and interest in all assets,
foreign and domestic, acquired and maintained
with the intent and for the purpose of
supporting, planning, conducting, and
concealing a Federal crime of terrorism
against the United States, citizens and
residents of the United States, and their
property; and

Cc. all right, title and interest in all assets,
foreign and domestic, derived from, involved
in, and used and intended to be used to
commit a Federal crime of terrorism against
the United States, citizens and residents of
the United States, and their property;

including, but not limited to, a sum of money representing the
value of the property described above as being subject to
forfeiture.

9. Upon conviction of the offenses in violation of
Title 18, United States Code, Sections 2339B and 371, alleged in
Counts One and Two of this Information, SABIRHAN HASANOFF, a/k/a
“Tareq,” the defendant, shall pay to the United States, pursuant
to Title 18, United States Code, Section 981(a)(1)(G), and Title
28, United States Code, Section 2461(c), a money judgment equal

to the value of the assets subject to forfeiture under Paragraphs

5 through 8 above.
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If any of the forfeitable property, as a result of

any act or omission of SABIRHAN HASANOFF, a/k/a “Tareg,” the

defendant:

cannot be located upon the exercise of due
diligence;

has been transferred or sold to, or deposited
with, a third person;

has been placed beyond the jurisdiction of
the Court;

has been substantially diminished in value;
or

has been commingled with other property which
cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code,

Section 853(p), to seek forfeiture of any

other property of said defendant up to the value of the above

forfeitable property.

(Title 18,

United States Code, Sections 981(a) (1) (C),
981(a)(1)(G), and 2332b(g) (5), and Title 28,
United States Code, Section 2461(c).)

Dyer” Puswarza—

PREET BHARARA
United States Attorney

 
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Form No. USA-33s-274 (Ed. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
_ Vv. _-

SABIRHAN HASANOFF,
a/k/a “Tareq,”

Defendant.

 

INFORMATION
S6 10 CR 162 (KMW)
(Title 18, United States Code,

Sections 2, 371, 2339B.)

PREET BHARARA
United States Attorney

 

 
